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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 9:17-cv-80948-RLR


  DAVID JACK WILKINSON,

          Plaintiff,

  v.

  FLORIDA POWER & LIGHT COMPANY,
  a Florida profit corporation, and MBO
  PARTNERS, INC., a foreign profit corporation

        Defendants.
  _________________________________________/

                 DEFENDANTS’ RESPONSE TO JUDGE ROSENBERG’S
                     DISCLOSURE OF CONFLICT IN THIS CASE

          Defendants, FLORIDA POWER & LIGHT COMPANY (“FPL”) AND MBO

  PARTNERS, INC. (“MBO”), by and through the undersigned counsel, and pursuant to the

  Clerk of Court’s August 26, 2021 letter [DE 49], hereby provide their response to Judge

  Rosenberg’s disclosure of conflict in this case. This case was dismissed, without prejudice,

  in March of 2018 because of Plaintiff, DAVID JACK WILKINSON’s (“Wilkinson”),

  failure to comply with a court order and subsequent abandonment of his claims against

  Defendants. No party was prejudiced by Judge Rosenberg’s conflict at any time during

  the pendency of this matter, which is confirmed by reviewing the procedural history of this

  case.

          In August 2017, Wilkinson filed a lawsuit against FPL and his employer, MBO

  Partners, claiming that he was misclassified as an independent contractor and that FPL and


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  MBO were his joint employers. On November 20, 2017, Defendants filed a Joint Motion

  to Dismiss, or in the alternative, to Stay and Compel Arbitration [DE 35]. Judge Rosenberg

  did not issue a ruling on this motion because on December 4, 2017, the parties filed a

  Notice of Settlement [DE 37]. Thereafter, Wilkinson advised he did not wish to settle his

  claims [DE 39]. Wilkinson’s counsel then filed a Motion to Withdraw as Counsel [DE 44]

  which the Court granted on February 9, 2018 [DE 45]. In the Court’s order, it directed

  Wilkinson to either retain new counsel or notify the Court in writing of his intent to proceed

  pro se on or before March 1, 2018 [DE 45]. Wilkinson did not comply with this order and

  so on March 2, 2018, the Court dismissed the case without prejudice [DE 48].

         Judge Rosenberg did not issue any dispositive rulings on any matter in this case.

  Accordingly, any potential conflict which existed did not influence the outcome of the case

  or prejudice any party. According to the August 26th letter, this fact was confirmed by

  Judge Rosenberg herself. And, most importantly, over three years has passed since the

  Court’s dismissal, and Wilkinson has not taken any steps since that time to reopen the case

  or otherwise prosecute his claims, which he could have done given that the case was

  dismissed without prejudice. In short, Judge Rosenberg’s failure to recuse herself was

  harmless error and should be disregarded. See Daniels v. AFLOA/JACC, No. 5:14-CV-

  00354 (LJA), 2015 U.S. Dist. LEXIS 114057, at *6 (M.D. Ga. Aug. 27, 2015) (holding

  that there was no basis to vacate dismissal where the prior judge entered a dismissal order

  even though he should have been recused from the case; such error was harmless because

  “the case would properly be dismissed regardless of what judge ruled on the matter.”)

  (citing Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 864 (1988)).


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  Accordingly, Defendants respectfully request that the Court disregard Wilkinson’s

  September 13, 2021 letter and not disturb the Court’s dismissal of the case.



  Dated: September 24, 2021 Respectfully submitted,

   /s/ Christin M. Russell                       /s/ Richard D. Tuschman
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                              CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was filed by CM/ECF
  and served by Regular U.S. Mail, Certified U.S. Mail, and email on September 24, 2021
  on all pro se parties of record on the Service List below.

                                            /s/ Christin M. Russell
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